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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
__________________________
                           )
JOHN DOE,                  )
                           )
       Plaintiff           )           CIVIL ACTION NO.: 3:16cv-30184-MAP
                           )
v.                         )
                           )
WILLIAMS COLLEGE,          )
                           )
       Defendant.          )
_________________________)

                 PLAINTIFF’S MOTION TO AMEND SCHEDULING ORDER

        Plaintiff respectfully requests an amendment to the Scheduling Order as set out herein. In

support hereof, Plaintiff states as follows:

        1.      This Court denied Williams College’s motion to dismiss on April 28, 2017. (Doc.

71.)

        2.      Plaintiff filed the Third Amended Complaint on May 12, 2017. (Doc. 76.)

        3.      On June 6, 2017, this Court entered a Scheduling Order consistent with the joint

request of the parties. (Doc. 81. Attachment A.)

        4.      The Scheduling Order requires non-expert discovery to be completed by March 16,

2018 – three weeks from now. (Id.)

        5.      Williams College filed its answer on June 13, 2017. (Doc. 82.)

        6.      Williams College took over six months to produce its documents in response to

Plaintiff’s Requests for Production. In fact, to date, Plaintiff has not received all discoverable

documents.

        7.      Plaintiff’s counsel lost a member of her immediate family in a tragic hit-and-run

accident on January 5, 2018. An arrest was made on February 20, 2018. In preparation for trial,

Plaintiff’s counsel will be attending a meeting with the Bergen County, New Jersey, Prosecutor’s
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Office at a time to be scheduled in a “couple weeks.” This will require a few days time to allow for

travel.

          8.    Defendant submitted documents to Plaintiff in response to Plaintiffs’ July 18, 2017

Request for Production up until January 30, 2018.

          9.    Defendant submitted documents to Plaintiff in response to Plaintiffs’ December 26,

2017 Request for Production on January 25, 2018.

          10.   Plaintiff’s counsel, suffering from cancer, had major open surgery on January 31,

2018.

          11.   Plaintiff deposed its sixth deponent on February 15, 2018.

          12.   Depositions are scheduled for March 1, 2018 and March 6, 2018.

          13.   Plaintiff proposed to depose its tenth deponent on March 16, 2018, the deadline for

which depositions are scheduled to be completed.

          14.   Defendant is unavailable for depositions on March 16, 2018 as well as the entire

week of March 16, 2018.

          15.   Plaintiff requires the taking of two additional depositions, leaving three to be

scheduled outside the original scheduling order deadline.

          16.   On February 16, 2018, Plaintiff served Defendant its Third Set of Interrogatories. See

(Attachment B.)

          17.   On February 19, 2018, Plaintiff served Defendant its First Requests for Admission.

(Attachment C.)

          18.   On February 20, 2018, Defendant’s counsel informed Plaintiff’s counsel that the

College had “mistakenly” not included critically important documents in its seven previous

document productions. Based on this Defendant’s counsel has offered to re-open Ms. Bossong’s

deposition to question her about these documents that were in her custody.
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       19.       To date, the College is still in the process of providing Plaintiff will all discoverable

documents.

       20.       On February 20, 2018, Plaintiff’s counsel shared final drafts (final at the time) of this

Motion to Amend and a Motion for Leave to Conduct Additional Depositions with Defendant’s

counsel. Plaintiff’s counsel requested a response by the end of the business day February 21, 2018

given the extreme time constraints.

       21.       On February 21, 2018, Plaintiff’s counsel alerted Defendant’s counsel that this

Motion to Amend was edited to include the passage in Paragraph 7 above regarding the arrest that

was made on February 20, 2018.

       22.       On February 22, 2018, concurrently with this Motion, Plaintiff filed its Motion for

Leave to Conduct Additional Depositions. (Doc. 101.)

       23.       As of the time of the filing of these Motions, Plaintiff’s counsel has not received any

response from Defendant’s counsel regarding the request to address the aforementioned final drafts.

       24.       Although the parties have commenced discovery, with depositions incomplete and

pending motion practice, the parties foresee they will need additional time to complete discovery. As

a result, they seek a continuance of the Scheduling Order deadlines, as set out below:

             May 30, 2018                     Completion of non-expert discovery, including service
                                              of and responses to all written discovery (including
                                              requests for admissions) and non-expert depositions
             May 30, 2018                     Service of requests for admissions
             June 5, 2018                     Case management conference at 11:00 A.M.
             July 12, 2018                    Plaintiff’s designation of trial expert(s) and disclosure of
                                              information required by Fed. R. Civ. P. 26(a)(2)
             August 8, 2018                   Defendant’s designation of trial expert(s) and disclosure
                                              of information required by Fed. R. Civ. P. 26(a)(2)
             September 14, 2018               Completion of expert depositions
             October 15, 2018                 Filing of dispositive motion(s)
             November 16, 2018                Filing of opposition(s) to dispositive motion(s)
             December 3, 2018                 Filing of replies to opposition(s) to dispositive motion(s),
                                              if any
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        25.     This schedule will allow for reasonable time to conduct a full review the voluminous

document production and to prepare for and conduct the final depositions.

        26.     No party will be prejudiced by the allowance of this motion.

        WHEREFORE, Plaintiff respectfully requests that the Court allow this motion and amend the

Scheduling Order as set out herein. Plaintiff respectfully requests a hearing on this Motion, if the

Court requires such hearing, to be held on February 27, 2018

                                                Respectfully submitted,

Date: February 22, 2018                         JOHN DOE
                                                PLAINTIFF


                                                By: _____/s/ Stacey Elin Rossi_______
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               CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1

Counsel have conferred in good faith but without success.


Date: February 22, 2018                         JOHN DOE
                                                PLAINTIFF

                                                By: _____/s/ Stacey Elin Rossi_______
                                                STACEY ELIN ROSSI, BBO# 681084
                                                ROSSI LAW FIRM
                                                P.O. Box 442
                                                Hoosick Falls, New York 12090
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                                 CERTIFICATE OF SERVICE

      This document was served electronically upon all counsel of record by filing through the
ECF system on February 22, 2018.
                                           _/s/ Stacey Elin Rossi_______
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